Case 1:23-cv-01177-UNA Document 2 Filed 10/19/23 Page 1 of 3 PageID #: 51




                                 OFFICE OF THE CLERK
                        UNITED STATES DISTRICT COURT
                                DISTRICT OF DELAWARE
     Randall Lohan                                                 844 North King Street, Unit 18
   CLERK OF COURT                                                   Wilmington, DE \9801-3570
                                                                       www.ded.uscourts.gov
                                                                         (302) 573-6170




                      DISTRICT OF DELAWARE
                          LOCAL RlTLE 73, 1
                          Magistrate Judges; Trial by Consent


      Where the parties consent, the Magistrate Judge may conduct a jury or
nonjury trial in any civil action and order the entry of final judgment in accordance
with 28 U.S.C. § 636 (c) and Fed. R. Civ. P. 73-76. In the course of conducting
proceedings in any civil action upon the consent of the parties, a Magistrate Judge
may hear and determine any an all pretrial and post-trial motions including case
dispositive motions.

       (a) The Clerk shall notify the parties in all cases that they may consent to
have a Magistrate Judge conduct any or all proceedings in the case and order the
entry of final judgment.

       (b) The Clerk shall not accept a consent form for filing unless it has
been signed by all parties in a case. Plaintiff shall be responsible for securing
execution and filing of such a consent form. No consent form will be made
available, nor will its contents be made known to any District Judge or Magistrate
Judge, unless all stated parties have consented to the reference to a Magistrate
Judge.

       (c) The consent form shall be filed with the Clerk not later than the final
pretrial conference, unless otherwise ordered.

       (d) After the consent form has been executed and filed, the Clerk shall so
advise the District Court Judge to whom the case has been assigned. At the
discretion of the District Judge, the Clerk shall prepare, for the District Judge's
signature, an order referring the case to the Magistrate Judge. Once the case has
been referred, the Magistrate Judge shall have the authority to conduct any and all
proceedings to which the parties have consented and to direct the Clerk to enter a
final judgment in the same manner as if a District Judge presided.
           Case 1:23-cv-01177-UNA Document 2 Filed 10/19/23 Page 2 of 3 PageID #: 52


AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                         UNITED STATES DISTRICT COURT
                                                                          for the
                                                                  District of Delaware

                                                                                )
                                 Plaintiff                                      )
                                    v.                                          )     Civil Action No.
                                                                                )
                               Defendant                                        )



           NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

        Notice ofa magistrate judge's availability. A United States magistrate judge of this court is available to conduct all
proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment may
then be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate judge may
exercise this authority only if all parties voluntarily consent.


        You may consent to have your case referred to a magistrate judge, or you may withhold your consent without adverse
substantive consequences. The name of any party withholding consent will not be revealed to any judge who may otherwise
be involved with your case.


       Consent to a magistrate judge's authority The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.


              Parties' printed names                                   Signatures ofparties or attorneys                       Dates




                                                                    Reference Order

        IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and
order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.



Date:
                                                                                                  District Judge's signature



                                                                                                    Printed name and title


Note:     Return this fonn to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
          magistrate judge. Do not return this form to a judge.
          Case 1:23-cv-01177-UNA Document 2 Filed 10/19/23 Page 3 of 3 PageID #: 53


AO 8SA (Rev, 01/09) Notice, Consent, and Reference of a Dispositive Motion to a Magistrate Judge


                                       UNITED STATES DISTRICT COURT
                                                                          for the
                                                                 District of Delaware

                                                                               )
                              Plaintiff                                        )
                                  v.                                           )        Civil Action No.
                                                                               )
                              Defendant                                        )

    NOTICE, CONSENT, AND REFERENCE OF A DISPOSITIVE MOTION TO A MAGISTRATE JUDGE

         Notice ofa magistrate judge's availability. A United States magistrate judge of this court is available to conduct
all proceedings and enter a final order dispositive of each motion. A magistrate judge may exercise this authority only if
all parties voluntarily consent.

        You may consent to have motions referred to a magistrate judge, or you may withhold your consent without
adverse substantive consequences. The name of any party withholding consent will not be revealed to any judge who
may otherwise be involved with your case.

        Consent to a magistrate judge's consideration ofa dispositive motion. The following parties consent to have a
United States magistrate judge conduct any and all proceedings and enter a final order as to each motion identified below
{identify each motion by document number and title}.


                  Motions: -----------------------------------------                                .............. ~-----------




            Parties' printed names                                 Signatures ofparties or attorneys                                Dates

                                                                                           -------".----­




                                                                  Reference Order

         IT IS ORDERED: The motions are referred to a United States magistrate judge to conduct all proceedings and
enter a final order on the motions identified above in accordance with 28 U.S.C. § 636(c).


Date:
                                                                                                        District Judge's signature



                                                                                                           Printed name and title

Note:    Return this form to the clerk of court only if you are consenting to the exercise ofjurisdiction by a United States
         magistrate judge. Do not return this form to a judge.
